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                                          EXHIBIT 3

From: Zhao Qi/01047667 Company Customer Department 29 <momo871022@cmbchina.com>
Date: March 11, 2019 GMT+8 11:28:06
To: "vincent@lkmotion.com" <vincent@lkmotion.com>
Cc: Ma Jing/01020208 Operation Center Trade Finance Operation Room
<nancy_bbm0714@cmbchina.com>, Zhao Xiaodan/01025617 Cross-border Finance Room
<zhaoxiaodan_0518@cmbchina.com>
Subject: Fw: Payment Reminder-Link Motion due on 31 May 2019 NetQin's notice of principal
and interest repayment on May 31, 2019

To
President Shi,

When prompted by Luxembourg, please pay attention to the repayment time.


Zhao Qi Account Manager

China Merchants Bank Co., Ltd. Beijing Branch Corporate Financial Business Department 29th

First Floor, Block C, Chaowaimen Writing Center, No. 26, Chaowai Street, Chaoyang District,
Beijing (100020)

Phone: 18618360951

Phone: 010-85653265
Fax: 010-85656970
Email: momo871022@cmbchina.com
China Merchants Bank, because of you www.cmbchina.com



-----Original email content-----
From: "Ho Fai LEE 李浩晖"[FrankieLEE@eu.cmbchina.com]
Sending time: 2019-03-08 17:20 (Friday)
Recipient: Shi Na/01024260; Zhao Xiaodan/01025617 Cross-border Finance Office; Zhao
Qi/01047667 Company Customer Department 29
Cc: "Corporate Banking"[CorporateBanking@eu.cmbchina.com]
Subject: FW: Payment Reminder-Link Motion due on 31 May 2019 NetQin's notice of principal
and interest repayment on May 31, 2019
Everyone:
      Case 1:18-cv-11642-VM-VF Document 159-3 Filed 07/22/20 Page 2 of 9




As the repayment day is approaching, please ask your customers about their latest repayment
trends. We will prepare in advance, thank you!

Ho Fai LEE Li Haohui
Corporate Banking Department

China Merchants Bank Co., Ltd., Luxembourg Branch
20, Boulevard Royal, L-2449 Luxembourg
T: (+352) 286 666 622
M: (+352) 691 666 298
F: (+352) 286 666 333
FrankieLEE@eu.cmbchina.com
WeChat: frankilism

9623b64f-0a17-414c-975d-57cc6b15a6c0.jpg

From: Corporate Banking
Sent: 06 March 2019 17:25
To: Ho Fai LEE 李浩hui; He WEN; Li WAN; Lei FENG; Jennifer GARNIER; Ye ZHENG
Subject: FW: Payment Reminder-Link Motion due on 31 May 2019 NetQin's notice of principal
and interest repayment on May 31, 2019


From: Zhaojiaxing WEI
Sent: Wednesday, March 6, 2019 5:25:00 PM (UTC+01:00) Amsterdam, Berlin, Bern, Rome,
Stockholm, Vienna
To: Zhao Qi';'Liu Yingli';'Gaudi'
Cc: Zhao Xiaodan/01025617 Cross-border Finance Office; Corporate Banking;
millisandre@cmbchina.com
Subject: RE: Payment Reminder-Link Motion due on 31 May 2019 NetQin's notice of repayment
of principal and interest on May 31, 2019

Hello, everyone!

After calculation by the repricing system, please refer to the updated version of NetQin’s May
31, 2019 Notice of Repayment of Principal and Interest in the attachment.

Thanks a lot! Good luck~

Kind Regards,
Zhaojiaxing WEI
Corporate Banking Department

T: (+352) 286 666 627
      Case 1:18-cv-11642-VM-VF Document 159-3 Filed 07/22/20 Page 3 of 9




M: (+352) 621 815 980
ZhaojiaxingWEI@eu.cmbchina.com

China Merchants Bank Co., Ltd., Luxembourg Branch
20, Boulevard Royal, L-2449 Luxembourg

33309c7e-37fd-4f15-988a-8e8781b2354c.jpg



De: Zhaojiaxing WEI
Envoyé: 04 March 2019 09:36
À:'Zhao Qi' <momo871022@cmbchina.com>;'刘颖丽' <liuyingli@nq.com>;'高迪'
<gaodi@lkmotion.com>
Cc:'Zhao Xiaodan/01025617 Cross-border Finance Room'
<zhaoxiaodan_0518@cmbchina.com>; Corporate Banking
<CorporateBanking@eu.cmbchina.com>
Objet: Payment Reminder-Link Motion due on 31 May 2019 NetQin Payment Reminder-Link
Motion due on 31 May 2019

Dear Sirs:
To whom it may concern,

Please see the attached Payment Reminder notice. (Repayment of principal and interest in May
2019)
Please see the attached payment reminder.

1. Payment time: remit 1-2 working days in advance to avoid affecting the account due to the
remittance time
          Time: recommend to remit 1-2 days prior to the deadline
2. Amount: Be sure to choose the full payment service (charge by ours) to avoid intermediary
bank deductions that cause insufficient payment
          Amount: please select “pay full” or “charge by ours” to ensure enough funding to be
parked to the Bank.
3. Payee: The borrower has not opened an account with our bank, please follow the attached
payment path to pay to our bank account
          Beneficiary: Since the Borrower do not maintain an account with us, please pay
directly to the Bank according to the attachment.
4. Payee's address (if required): 20, Boulevard Royal L-2449 Luxembourg
          Beneficiary Address: 20, Boulevard Royal L-2449 Luxembourg
5. PS: Repayment from "Please fill in the English name of the borrower"
          Message: Repayment from “the Borrower’s name”
      Case 1:18-cv-11642-VM-VF Document 159-3 Filed 07/22/20 Page 4 of 9




Feel free to contact if you have any questions, thank you!
Please feel free to contact us if you have any questions. Thanks!

Kind Regards,
Zhaojiaxing WEI
Corporate Banking Department

T: (+352) 286 666 627
M: (+352) 621 815 980
ZhaojiaxingWEI@eu.cmbchina.com

China Merchants Bank Co., Ltd., Luxembourg Branch
20, Boulevard Royal, L-2449 Luxembourg

33309c7e-37fd-4f15-988a-8e8781b2354c.jpg


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20, Boulevard Royal, L 2449 Luxembourg
T: (+352) 286 666 622
M : (+352) 691 666 298
F: (+352) 286 666 333
FrankieLEE@eu.cmbchina.com
WeChat : frankilism




From: Corporate Banking
Sent: 06 March 2019 17:25
To: Ho Fai LEE  ; He WEN; Li WAN; Lei FENG; Jennifer GARNIER; Ye ZHENG
Subject: FW: Payment Reminder - Link Motion due on 31 May 2019 ;2019"5E31 3
IG'`



From: Zhaojiaxing WEI
Sent: Wednesday, March 6, 2019 5:25:00 PM (UTC+01:00) Amsterdam, Berlin, Bern, Rome, Stockholm,
Vienna
To: ¡'; 'f'; '*'
Cc: /01025617 zR{; Corporate Banking; millisandre@cmbchina.com
Subject: RE: Payment Reminder - Link Motion due on 31 May 2019 ;2019"5E31 3IG'`

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W¥w~

Kind Regards,
Zhaojiaxing WEI2/-
Corporate Banking Department

T: (+352) 286 666 627
M : (+352) 621 815 980
ZhaojiaxingWEI@eu.cmbchina.com

China Merchants Bank Co., Ltd., Luxembourg Branch
20, Boulevard Royal, L-2449 Luxembourg




De : Zhaojiaxing WEI
     Case 1:18-cv-11642-VM-VF Document 159-3 Filed 07/22/20 Page 7 of 9

De : Zhaojiaxing EI
Envoyé : 04 March 2019 09:36
À : '¡'' <momo871022@cmbchina.com>; 'f' <liuyingli@nq.com>; '*'
<gaodi@lkmotion.com>
Cc : '/01025617 zR{' <zhaoxiaodan_0518@cmbchina.com>; Corporate Banking
<CorporateBanking@eu.cmbchina.com>
Objet : Payment Reminder - Link Motion due on 31 May 2019 ;2019"5E31 3I
G'`

[©
To whom it may concern,

?<CPayment ReminderG'¢ "E3I
Please see the attached payment reminder.

1.        e2©Y61-2F5 ¨i:e2T}
          Time: recommend to remit 1-2 days prior to the deadline
2.        R©qbOu-Nq¦charge by ours§¨i2/Zx|R
     p
           Amount: please select “pay full” or “charge by ours” to ensure enough funding to be
parked to the Bank.
3.         Ke©e                  /oh¨?CeA /h
           Beneficiary: Since the Borrower do not maintain an account with us, please pay
directly to the Bank according to the attachment.
4.         KeB¦)Q§©20, Boulevard Royal L-2449 Luxembourg
           Beneficiary Address: 20, Boulevard Royal L-2449 Luxembourg
5.         m©Repayment from £?en07y¤
           Message: Repayment from “the Borrower’s name”

)@H_t^¨WW¥
Please feel free to contact us if you have any questions. Thanks!

Kind Regards,
Zhaojiaxing WEI2/-
Corporate Banking Department

T: (+352) 286 666 627
M : (+352) 621 815 980
ZhaojiaxingWEI@eu.cmbchina.com

China Merchants Bank Co., Ltd., Luxembourg Branch
20, Boulevard Royal, L-2449 Luxembourg
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ྌᮒկٖ਻Րդᤒ‫ݎ‬ᭆᘏጱӻՈᥡᅩ޾఺ᥠ҅Ө೗ࠟᱷᤈᙎղํᴴ‫ٌ݊ݪل‬ӥં‫ړ‬ඪ๢຅ጱᥡᅩ޾఺ᥠ෫‫҅ى‬೗ࠟᱷᤈᙎղํᴴ‫ݪل‬
ٌ݊ӥં‫ړ‬ඪ๢຅ӧ੒ྌᮒկٖ਻ಥ೅ձ֜ᨱձ̶ྌᮒկٖ਻ՐᴴතկՈັᴅ҅ই᧏තྌᮒկ᧗ᒈ‫ڢܨ‬ᴻ̶
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